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                    UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable William H. Orrick, Judge

ZEIGER, et al.,               )
                              )
     Plaintiffs,              )
                              )
VS.                           )       NO. 17-CV-04056
                              )
WELLPET, LLC, et al.,         )
                              )
     Defendants.              )
______________________________)

                                 San Francisco, California
                                 Wednesday, April 20, 2022

      TRANSCRIPT OF REMOTE ZOOM VIDEOCONFERENCE PROCEEDINGS

APPEARANCES VIA ZOOM:

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(APPEARANCES CONTINUED ON FOLLOWING PAGE)


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APPEARANCES VIA ZOOM: (CONTINUED)

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                                                                             3

1    Wednesday - April 20, 2022                                   2:00 P.M.

2                            P R O C E E D I N G S

3                                     ---O0O---

4         THE CLERK:     All right.     So reminder to everyone who's joined

5    us today we ask that you do not stream these proceedings and that

6    you don't make any audio or visual record of them including any

7    screenshots.   And we will get underway in Case number 17-4056,

8    Zeiger v. WellPet, LLC.

9         Counsel, if you would please state your appearance for the

10   record.

11        MS. PETERSON:     Good afternoon, Your Honor.     Rebecca Peterson

12   on behalf of plaintiff.

13        MR. GUSTAFSON:     Good afternoon, Your Honor.     Dan Gustafson

14   on behalf of the plaintiff.

15        MR. BORDEN:     Good afternoon, Your Honor.    Matt Borden on

16   behalf of the defendant.

17        MR. NASSIHI:     Good afternoon, Your Honor.     Amir Nassihi also

18   on behalf of the defendant.

19        MR. MUEHLBERGER:        James Muehlberger, good afternoon, also on

20   behalf of the defendant.

21        MR. KWASNIEWSKI:        And David Kwasniewski on behalf of the

22   defendant.

23        THE COURT:     Great.    Well, good afternoon to all of you.

24   Congratulations again on resolving this case.

25        I do have one question, Ms. Peterson, I think for you, which
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                                                                                4

1    is the length of the injunctive relief.         It goes to January 2nd

2    of 2026.     How was that date chosen?      what was the thinking about

3    that?

4         MS. PETERSON:      Thank you, Your Honor.

5         So that was a discussion that both parties went ack and

6    forth on.     And that was -- that's something that was reasonable

7    and that seemed reasonable with what the industry is doing now

8    that they would be, you know, possibly the only company currently

9    disclosing heavy metal results on their website.           But that, you

10   know, it was open-ended that they continue -- that they can

11   choose to continue doing it after four years if they so.

12        But plaintiffs didn't want something less than four years.

13   And we did consider the fact that, you know, because this is

14   cutting edge in a way for what dog food companies are doing

15   currently, that that was a good time period and that we didn't

16   want to -- that they could revisit it and they might choose to

17   continue doing it longer.

18        THE COURT:      Okay.   All right.

19        Well, so I do think that this is a good result for the

20   class.    I think the disclosures on the website and the broad base

21   testing is real relief, and it's adequate.          The merits of the

22   litigation were risky, as the other cases have shown.           And it

23   would have been costly and complex to go through this.

24        This was obviously an arms-length and heavily litigated

25   case.    And the releases only go to the injunctive relief claims.
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                                                                              5

1    So I think for all of the reasons, I'll find that the

2    settlement's fair, reasonable, and adequate.       I'll certify the

3    modified settlement class.

4         And with respect to the fees and costs, given the result in

5    the case and the fact that the fees requested are half of the

6    Lodestar, I'll grant those.    And I think that the amount of

7    $7,000 for what the class rep did in this case is reasonable.         So

8    I would make all of those findings.

9         I don't know whether either -- anybody wants to say anything

10   else on the record with respect to this settlement?

11        MR. BORDEN:    Your Honor, this is Mr. Borden.      Thank you very

12   much for all your work on this case.

13        There's one, you know, sort of minor technical point that I

14   think is related to the testing period, which is in Section 1,

15   the testing period actually begins on January 1 of 2022.         So it

16   technically already started.

17        And what we would like to do is pursuant to Section 8 of the

18   settlement agreement, we can modify as reasonable the periods in

19   the agreement and what we'd like it to do as to start and to have

20   the four-year period start four months after the final approval

21   has been issued.   And we've discussed this with plaintiffs, and

22   they're in agreement.

23        THE COURT:    Okay.   So do we -- do you want to submit or do

24   you need to submit a revised proposed final order for me to sign?

25        MR. BORDEN:    We're happy to do that, Your Honor.      And I
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                                                                              6

1    think that makes sense.

2           THE COURT:     Okay.    Why don't you do that.   And then I'll

3    review it and sign off on it promptly.          And so thank you for your

4    work on this.

5           Anything else from anybody?

6           MS. PETERSON:     No.    But thank you, Your Honor --

7           THE COURT:     Okay.

8           MS. PETERSON:     -- for all your work on this case.

9           THE COURT:     Well, it's been a while.     So good luck to you

10   all.    Thank you.     Congratulations.

11          MS. PETERSON:     Thank you.

12          MR. GUSTAFSON:    Thank you, Judge.

13          MR. BORDEN:     Thank you, Your Honor.

14          MR. NASSIHI:     Thank you, Your Honor.

15          MR. KWASNIEWSKI:        Thank you.

16          MR. MUEHLBERGER:        Thank you.

17          (Proceedings adjourned at 2:06 p.m.)

18                                       ---O0O---

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1                             C E R T I F I C A T E

2         I certify that the foregoing is a correct transcript from

3    the official electronic sound recording of the proceedings in the

4    above-entitled matter.

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7    ______________________________

8    DIPTI PATEL, CET-997

9    LIBERTY TRANSCRIPTS                         Date: August 10, 2022

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